                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )     MATTICE/CARTER
                                               )
        v.                                     )     CASE NO. 1:09-CR-98
                                               )
 MARISHA PETERS                                )


                                             ORDER

        On February 25, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to Count One of

 the Indictment, the lesser included offense of conspiracy to distribute and possess with the intent

 to distribute 271.15 grams of a mixture or substance containing a detectable amount of cocaine

 hydrochloride in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C), in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment, the lesser included

 offense of conspiracy to distribute and possess with the intent to distribute 271.15 grams of a

 mixture or substance containing a detectable amount of cocaine hydrochloride in violation of 21

 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C); (c) that a decision on whether to accept the plea

 agreement be deferred until sentencing; and (d) Defendant shall be taken into custody pending

 sentencing in this matter (Doc. 412). Neither party filed an objection within the given ten days.

 After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:




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        (1) Defendant’s plea of guilty to Count One of the Indictment, the lesser included offense

 of conspiracy to distribute and possess with the intent to distribute 271.15 grams of a mixture or

 substance containing a detectable amount of cocaine hydrochloride in violation of 21 U.S.C. §§

 846, 841(a)(1) and (b)(1)(C), in exchange for the undertakings made by the government in the

 written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment, the lesser included offense of conspiracy to distribute and possess with the intent to

 distribute 271.15 grams of a mixture or substance containing a detectable amount of cocaine

 hydrochloride in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C);

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL BE TAKEN INTO CUSTODY pending sentencing on

 Monday, May 24, 2010, at 9:00 am.

        SO ORDERED.

        ENTER:

                                                            /s/Harry S. Mattice, Jr.
                                                            HARRY S. MATTICE, JR.
                                                       UNITED STATES DISTRICT JUDGE




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